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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
 Travelers Commercial Insurance Company,                                  CASE NUMBER:

 a Connecticut Corporation
                                                                                            2:21-CV-5832-GW (PDx)
                                                           Plaintiff(s)
                                 v.
                                                                             (PROPOSED) ORDER ON REQUEST FOR
 New York Marine and General Insurance Company,                                APPROVAL OF SUBSTITUTION OR
 a Delaware Corporation                                                          WITHDRAWAL OF ATTORNEY

                                                        Defendant(s).


        The Court hereby orders that the request of:

   Travelers Commercial Insurance Company [X] Plaintiff [ ] Defendant [ ]Other
                Name of Party

to substitute      Nicholas J. Boos                                                                                   who is

        [X] Retained Counsel                  [ ] Counsel appointed by the Court (Criminal cases only)                [ ] Pro Se

Two Embarcadero Center, Suite 1450
                                                                   Street Address


San Francisco, CA 94111                                                                     nboos@maynardcooper.com
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        415-646-4674                                     205-714-6415                                        233399
        Telephone Number                                           Fax Number                                State Bar Number

as attorney of record instead of Mark D. Peterson (SBN: 126174), Kathleen O. Peterson (SBN: 124791), and
                                                    List all attorneys from same firm or agency who are withdrawing
 Amy Howse (SBN: 252922)


is hereby       [ ] GRANTED                      [ ] DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this
case.

        Dated
                                                                            U. S. District Judge/U.S. Magistrate Judge



G-01 ORDER (09/17)(PROPOSED) ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
